
696 So.2d 997 (1997)
John ADAMS, et al.
v.
DEATON, INC., et al.
No. 97-CC-1237.
Supreme Court of Louisiana.
June 30, 1997.
Granted. The trial court's rulings do not represent an abuse of its broad discretion in discovery matters. See Laburre v. East Jefferson General Hosp., 555 So.2d 1381 (La. 1990). Accordingly, the judgment of the court of appeal is vacated and set aside, and the judgment of the trial court reinstated. Case remanded to the trial court for further proceedings.
*998 CALOGERO, C.J., and LEMMON, J., would deny the writ.
JOHNSON, J., not on panel.
